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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
 GRACE, et al.,                          )
                                         )
              Plaintiffs,                )
                                         )
 v.                                      )    Civil Action No. 1:18-cv-01853-EGS
                                         )
 MATTHEW G. WHITAKER, in his             )
 Official Capacity as Acting Attorney    )
 General of the United States, et al.,   )
                                         )
              Defendants.                )
                                         )

                             DEFENDANTS’ STATUS UPDATE

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                                             Director

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                                             Trial Attorneys

Dated: January 25, 2019                      Attorneys for Defendants
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                                DEFENDANTS’ STATUS UPDATE

        Defendants respectfully submit this Status Update in accordance with their representations

in the Status Update filed with the Court on January 18, 2019. ECF No. 117.

        Since the January 18, 2019 update, counsel for Defendants have continued to confer with

counsel for Plaintiffs by email to work out the logistics of returning the removed Plaintiffs to the

United States. Three of the removed Plaintiffs arrived in the United States yesterday. Customs

and Border Protection have processed them for expedited removal with a claim of fear of return

and have transferred them to the custody of Immigration and Customs Enforcement for further

processing. Defendants’ counsel continue to work with Plaintiffs’ counsel to facilitate the

scheduling of the credible fear interviews.

        One Plaintiff chose not to travel yesterday, and it is believed that the Plaintiff intends to

travel next week. Defendants and their counsel continue to work with Plaintiffs’ counsel to

facilitate that Plaintiff’s travel to the United States.

        Finally, Defendants and their counsel continue to work with Plaintiffs’ counsel to facilitate

the return of the two Plaintiffs who do not have passports. Defendants and their counsel await

notification from Plaintiffs’ counsel that passports have been obtained.

                                                           Respectfully submitted,

                                                           JOSEPH H. HUNT
                                                           Assistant Attorney General

                                                           WILLIAM C. PEACHEY
                                                           Director

                                                           EREZ REUVENI
                                                           Assistant Director

                                                 By:       /s/ Christina P. Greer
                                                           CHRISTINA P. GREER
                                                           Trial Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2019, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                            By:    /s/ Christina P. Greer
                                                   CHRISTINA P. GREER
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division
